              Case 23-1162, Document 115, 03/11/2024, 3614266, Page1 of 2




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                                       March 11, 2024

Catherine O'Hagan Wolfe, Clerk of Court
U.S. Court of Appeals for the Second Circuit
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007


        Re:      Fed. R. App. P. 28(j) letter in No. 23-1162,
                 National Association for Gun Rights, Toni Theresa Spera Flanigan v.
                 Ned Lamont et al.


Dear Ms. Wolfe,

       Defendants-appellees advise this Court of Ocean State Tactical v. Rhode Island,
No. 23-1072 (1st Cir. Mar. 7, 2024). A unanimous panel affirmed the denial of an
injunction against Rhode Island’s prohibition on large-capacity magazines holding more
than ten rounds of ammunition. That prohibition is substantively identical to the
Connecticut restriction that the District Court declined to enjoin here. Def. Br. 11-12.
Assuming without deciding that LCMs are “arms,” the First Circuit held that the
challengers were unlikely to succeed on the merits because “[a]pplying Bruen’s metrics,
our analogical reasoning very likely places LCMs well within the realm of devices that
have historically been prohibited once their danger became manifest.” No. 23-1072, p.
10, 23; Def. Br. 50-69.

      Ocean State Tactical’s reasoning is persuasive and relevant on several
substantive and methodological questions:

      The First Circuit deployed the more flexible and “nuanced” reasoning appropriate
       for “unprecedented societal concerns,” since LCM technology and the tragedy of
       mass shootings were unknown at the Founding. No. 23-1073, pp. 8-11.

      Like this Court in Antonyuk v. Chiumento, the First Circuit looked to precedent
       from throughout American history—from the Founding era into the 20 th century.
       Id. at 27-28.


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             Case 23-1162, Document 115, 03/11/2024, 3614266, Page2 of 2



Rule 28j letter
March 11, 2024
Page | 2




      On a record much like ours, the First Circuit determined that an LCM restriction
       “does not burden” the Second Amendment’s core right of armed self-defense,
       “[g]iven the lack of evidence that LCMs are used in self-defense.” Id. at 13.

      The First Circuit found many historical analogues—including restrictions on
       gunpowder storage, Bowie knives, and machine guns. Id. at 22. In the end, “our
       nation’s historical tradition recognizes the need to protect against the greater
       dangers posed by some weapons.” Id. at 22. Among those weapons are
       “semiautomatic weapons fitted with LCMs,” which “much more closely resemble
       the proscribable ‘M-16 rifles and the like’ than they do traditional handguns.” Id.
       at 20.

      Finally, the First Circuit declared ownership statistics “ancillary” to the
       constitutional inquiry, explaining: that “[i]t defies reason to say that legislatures
       can only ban a weapon if they ban it at (or around) the time of its introduction,
       before its danger becomes manifest.” Id. at 24-27.

                                                  Respectfully yours,


                                                  Joshua Perry
                                                  Counsel for Defendants-appellees

Word Count: 349
CC: All counsel via ECF
